                    Case
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                                   )
AMAZON.COM, INC., a Delaware corporation, and                      )
AMAZON TECHNOLOGIES, INC., a Nevada                                )
corporation                                                        )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                                     Civil Action No. 4:23-cv-5580 DMR
                                                                   )
                                                                   )
                                                                   )
                                                                   )
UMER WASIM, et al.                                                 )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    PLEASE SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     John D. Freed
     DAVIS WRIGHT TREMAINE LLP
     50 California Street, 23rd Floor
     San Francisco, CA 94111



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       11/8/2023                                                                                         Thelma Nudo
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                                                                                      C                      Signature of Clerk or Deputy Clerk
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                                    Amazon, et al. v. Umer Wasim, et al.
                                           4:23cv05580 DMR
                                     ATTACHMENT TO SUMMONS

         UMER WASIM, an individual
         5511 Lori Ln.
         West Fargo, ND 58078

         TEKNOBYL DIGITAL LLC, a Wyoming limited liability company,
         Registered Agents Inc.,
         30 N Gould St Ste R,
         Sheridan, WY 82801

         MUHAMMAD USMAN KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         VTLOGODESIGN, INC., a Florida corporation,
         Registered Agent- VOIPTERMINATOR INC,
         250 Intl Pkwy 108,
         Lake Mary, FL 32746


         MK AFFILIATES, INC., a Florida corporation,
         Registered Agent- Kelly Miller,
         1317 Edgewater Drive,
         Orlando FL, 32804

         ALI ALAM, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         DYNAMIC DIGITAL SOLUTIONS LLC, a Virginia limited liability company,
         Registered Agent- Ali Alam,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147

         MEHWASH MUNIR, an individual,
         44088 Saxony Ter,
         Ashburn, VA 20147

         ONE STOP COMPUTER SERVICES LLC, a Virginia limited liability company,
         Registered Agent- Mehwash Munir,
         44075 Pipeline Plz Ste 215,
         Ashburn, VA 20147




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          Case
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         MUHAMMAD ZUBAIR KHAN, an individual,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017


         TECHTURE INC., a California corporation,
         Registered Agent- Muhammad Khan,
         1221 W 3rd Street, Apt. 502,
         Los Angeles, CA 90017

         MUHAMMAD MUDASSAR ANWAR, an individual,
         919 Wilmot Rd.,
         Scarsdale, NY 10583

         TECH DRIVE PVT LLC, a New York limited liability company,
         NY Sec of State designated as agent,
         One Commerce Plaza
         99 Washington Ave.,
         Albany, NY 12231

         ASHHAR RAWOOF, an individual,
         11930 Newbrook Dr.,
         Houston, TX 77072


         SMART STARTUP SOLUTIONS, LLC Illinois limited liability company,
         United States Corporation Agent,
         500 N Michigan Ave STE 600,
         Chicago, IL 60611

         YASIR AGAR, an individual,
         Flat 402, 4th Floor, Zulekha Palace, Plot #15,
         BMCHS, Sharfabad, Karachi, PK 74800


         MAVIA NIZAM, an individual,
         1/22 Shah Faisal Colony,
         Karachi, PK 75700


         MUHAMMAD SHIRAZ QURESHI, an individual
         N-121 PECHS, Block 2,
         Karachi, PK 74400




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                      Case
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Civil Action No. 4:23-CV-5580 DMR

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

              I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                  , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                           ; or

              I returned the summons unexecuted because                                                                         ; or

              Other (specify):




          My fees are $                           for travel and $                   for services, for a total of $ 0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                        Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:
